

Matter of Michael S. (Kathryne T.) (2018 NY Slip Op 04481)





Matter of Michael S. (Kathryne T.)


2018 NY Slip Op 04481


Decided on June 15, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 15, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, LINDLEY, DEJOSEPH, AND CURRAN, JJ.


738 CAF 16-00309

[*1]IN THE MATTER OF MICHAEL S. AND GABRIEL S. CHAUTAUQUA COUNTY DEPARTMENT OF HEALTH AND HUMAN SERVICES, PETITIONER-RESPONDENT; KATHRYNE T., RESPONDENT-APPELLANT, AND TIMOTHY S., RESPONDENT. (APPEAL NO. 2.)






D.J. &amp; J.A. CIRANDO, ESQS., SYRACUSE (ELIZABETH deV. MOELLER OF COUNSEL), FOR RESPONDENT-APPELLANT.
REBECCA L. DAVISON-MARCH, MAYVILLE, FOR PETITIONER-RESPONDENT. 
MARY S. HAJDU, LAKEWOOD, ATTORNEY FOR THE CHILDREN. 


	Appeal from an order of the Family Court, Chautauqua County (Judith S. Claire, J.), entered February 4, 2016 in a proceeding pursuant to Social Services Law § 384-b. The order, inter alia, revoked a suspended judgment and terminated the parental rights of respondents. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Michael S. (Kathryne T.) ([appeal No. 1] — AD3d — [June 15, 2018] [4th Dept 2018]).
Entered: June 15, 2018
Mark W. Bennett
Clerk of the Court








